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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                             Plaintiff,                  No. 03-CR-80406

 vs.                                                     Hon. Gerald E. Rosen

 IMAD MOHAMAD-MUSBAH HAMMOUD,
 et al.,

                       Defendants.
 _____________________________________/

                  OPINION AND ORDER DENYING DEFENDANTS’
                       MOTIONS TO DISMISS INDICTMENT

                              At a session of said Court, held in
                             the U.S. Courthouse, Detroit, Michigan
                             on          May 16, 2008

                             PRESENT: Honorable Gerald E. Rosen
                                      United States District Judge

        This 19-defendant RICO conspiracy action1 involving an alleged multi-million

 dollar per year contraband cigarette trafficking organization is presently before the Court

 on two motions to dismiss filed by four defendants: Ali Berjaoui, Jihad (a/k/a “Jay”)

 Hammoud, Majid Mohamad Hammoud and Fadi Mohamad-Musbah Hammoud.

 Defendants Mohamad Zeidan and Adel Isak have joined in the motions. The


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          Five of the nineteen defendants -- Defendants Fadi Haydous, Imad Hamadeh,
 Youssef Bakri, Theodore Schenk and Karim Hassan Nassar -- have already pled guilty;
 Haydous, Hamadeh and Nassar have been sentenced. Seven of the named defendants are
 fugitives. Thus, at present, there are seven “active” defendants.

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 Government responded to Defendants’ Motions. On October 11, 2007, the Court heard

 oral argument on these motions and took the matter under advisement. Defendants

 thereafter filed supplemental briefs to which the Government subsequently responded.

        Having reviewed and considered the parties’ briefs and the oral arguments of

 counsel, the Court is now prepared to rule on this matter. This Opinion and Order sets

 forth the Court’s ruling.

                                  II. PERTINENT FACTS

        On April 14, 2004, the Grand Jury returned a First Superseding Indictment

 charging the 19 named defendants with conspiracy to violate the Racketeer Influenced

 and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(d). Specifically, the

 indictment charged the defendants with being members of the “Hammoud Enterprise,”

 which allegedly operated from Lebanon, Canada, Brazil, Paraguay, China, North

 Carolina, Florida and the Dearborn, Michigan area. The enterprise is alleged to have

 perpetrated crimes in ten states, including trafficking of contraband cigarettes, in

 violation of 18 U.S.C. § 2342; obtaining, producing and/or distributing millions of

 counterfeit goods (including counterfeit cigarette tax stamps, counterfeit Viagra, and

 counterfeit “Zigzag” cigarette papers) in violation of 18 U.S.C. §§ 2315, 2320;

 transporting stolen goods (including cartons of stolen paper products and baby formula)

 in interstate commerce in violation of 18 U.S.C. §§ 2314, 2315; and money laundering in

 violation of 18 U.S.C. § 1656. The indictment further charges that the defendants and



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 others involved in the conspiracy were bound together by their common Lebanese

 heritage, a common language (Arabic), allegiance to and support of Hizballah, blood

 relations, and a common purpose of generating large sums of money illegally.2

        The Hammoud enterprise allegedly comprised a multi-million dollar-a-year

 contraband cigarette trafficking organization, headquartered in the Dearborn, Michigan

 area between 1996 and 2002. Members of the enterprise allegedly purchased cigarettes

 in low tax or no-tax jurisdictions, including North Carolina and on the Cattaraugus Indian

 Reservation near Irving, New York, in quantities worth up to $500,000 per week, then

 transported them to Michigan and New York where they were re-distributed. After

 Michigan enacted its cigarette tax stamp requirement in 1998,3 members of the enterprise

 allegedly also began to obtain, produce and/or distribute millions of counterfeit state

 cigarette tax stamps for the states of Michigan, California and New York. In addition,

 members and associates of the enterprise are alleged to have obtained and distributed a

 counterfeit version of the prescription drug, Viagra, as well as other counterfeit or stolen

 products.

        Throughout the operation of this enterprise, five of the named defendants -- Hasan


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          A separate second count in the indictment also charges Defendant Ali Al-
 Mosawi, one of the fugitive defendants, with smuggling and attempted smuggling of 40
 tons of polyethylene resin with a forged and fraudulent certificate of origin, in violation
 of 18 U.S.C. § 545. This separate count was not addressed in Defendants’ motions nor is
 it addressed in this Opinion.
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         These tax stamps evidence the payment of applicable state cigarette taxes in the
 state where the cigarettes are found.

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 Al-Mosawi, Imad Hammoud, Hassan Nasser, Karim Nasser, and Ali Hammoud -- are

 accused of being avid supporters of Hizballah. Portions of the profits from the illegal

 activities of the Hammoud Enterprise, as well as money directly solicited from others

 (e.g., charging a “Resistance Tax” over black market price per carton on contraband

 cigarettes), were allegedly given to Hizballah. Further, according to the indictment,

 persons disagreeing with support of Hizballah were expelled from the enterprise.

        Four Defendants, Ali Najib Berjaoui, Jihad “Jay” Hammoud, Majid Mohamad

 Hammoud, and Fadi Mohamad-Musbah Hammoud have moved to dismiss the indictment

 claiming that the RICO conspiracy charge in Count I4 fails to allege essential elements of

 the offense. Specifically, Defendants complain that no facts are set forth in the

 indictment which indicate an “enterprise” separate and apart from the predicate

 “racketeering acts.”

                                      III. DISCUSSION

        In order to prove a RICO violation under 18 U.S.C. § 1962(c), the Government

 must establish: (1) the existence of an enterprise which affects interstate or foreign

 commerce; (2) that the defendant “associated with” the enterprise; (3) that the defendant

 participated in the conduct of the enterprise’s affairs; and (4) that the participation was

 through a pattern of racketeering activity. United States v. Sinito, 723 F.2d 1250, 1260

 (6th Cir. 1983). The defendant’s participation in the enterprise may take place through


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         These Defendants are only charged in Count I of the First Superseding
 Indictment.

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 the offense of various crimes unrelated to one another as long as these crimes are in some

 way intended to further the enterprise’s affairs. Id. 5

        In addition to the aforementioned elements, in order to prove a “RICO conspiracy”

 under 18 U.S.C. § 1962(d), the government must establish, the existence of an illicit

 agreement to violate the substantive RICO provision. Id. An agreement can be shown if

 “the defendant. . . objectively manifested an agreement to participate directly or

 indirectly in the affairs of an enterprise through the commission of two or more predicate

 crimes.” Id. at 1261.

        As indicated, Defendants’ argument in this case is that the indictment here is

 deficient because it fails to allege facts which indicate an “enterprise” separate and apart

 from the predicate “racketeering acts.” In support of their argument, however,

 Defendants rely upon an interpretation of the RICO statute and United States v. Turkette,



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          An “enterprise” is defined in the statute as including “any individual partnership,
 corporation, association or other legal entity, and any union or group of individuals
 associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). This definition has
 been interpreted to mean both legitimate and illegitimate enterprises. United States v.
 Turkette, 452 U.S. 576, 587, 101 S.Ct. 2524, 2530 (1981).

         “Racketeering activity” means any activity indictable under the provisions of Title
 18 and a “pattern” of racketeering activity requires at least two acts of the activities
 prohibited under Title 18. United States v. Sinuto, supra. The Indictment alleges: (1)
 violations of 18 U.S.C. § 2342 (contraband cigarette trafficking); (2) violations of 18
 U.S.C. § 2315 (possession of counterfeit tax stamps); (3) violations of 18 U.S.C. § 2320
 (trafficking in counterfeit goods); (4) violations of 18 U.S.C. §§ 2314, 2315 (possession
 and interstate transportation of stolen property); and (5) violations of 18 U.S.C. § 1956
 (money laundering).


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 452 U.S. 576 (1981), which has been squarely rejected by the Sixth Circuit. Specifically,

 in support of their argument, the lead cases Defendants rely upon are United States v.

 Bledsoe, 674 F.2d 647, 664 (8th Cir. 1982) and United States v. Riccobene, 709 F.2d 214,

 222 (3rd Cir. 1983). In those cases, the courts held that to establish an enterprise the

 government must demonstrate an “ascertainable structure” separate and distinct from that

 inherent in the conduct of a pattern of racketeering activity. The Sixth Circuit, however,

 has rejected the Bledsoe-Riccobene line of cases and has construed Turkette more

 broadly:

        The Turkette Court alluded to the fact that proof of a pattern of racketeering
        activity could also be used to show the existence of an enterprise. Turkette,
        452 U.S. at 583, 101 S.Ct. 2524 (“While the proof used to establish these
        separate elements may in particular cases coalesce, proof of one does not
        necessarily establish the other.”) This court has adopted such a reading of
        Turkette:

               We agree that Turkette requires the government to prove both
               the existence of an “enterprise” and a “pattern of racketeering
               activity.” We do not however, read Turkette to hold that
               proof of these separate elements be distinct and
               independent, as long as the proof offered is sufficient to
               satisfy both elements.

 United States v. Johnson, 440 F.3d 832, 840 (6th Cir. 2006), quoting United States v.

 Qaoud, 777 F.2d 1105, 1115 (6th Cir. 1985), cert. denied, 475 U.S. 1098 (1986)

 (emphasis added).

        Thus the law in this Circuit is that “[a]lthough ‘enterprise’ and ‘pattern of

 racketeering activity’ are separate elements, they may be proved by the same evidence.”



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 United States v. Qaoud, supra; United States v. Johnson, supra (“The enterprise element

 is also demonstrated by the evidence of crimes its members were alleged to have

 committed.”) See also Hofstetter v. Fletcher, 905 F.2d 897, 903 (6th Cir. 1988); United

 States v. Hudson, 52 F.3d 326, 1995 WL 234680 at **2 (6th Cir. 1995)

 (unpublished);United States v. Sims-Robertson, 16 F.3d 1223, 1994 WL 12212 at *4 (6th

 Cir. 1994) (unpublished); United States v. Collins, 927 F.2d 605, 1991 WL 23558 at

 **15 (6th Cir. 1991) (unpublished), cert. denied, 502 U.S. 858 (1991) (“The Sixth Circuit

 . . . has specifically rejected the position that there must be proof of an enterprise distinct

 from proof of a pattern of racketeering.”)6


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           The Court is mindful of the group of Sixth Circuit cases cited by Defendants in
 their supplemental brief which contain language that appears to contradict Qaoud.
 However, none of those cases were en banc decisions, and as such, cannot and do not
 overrule Qaoud. See Sixth Circuit Rule 206(c) (“Reported panel opinions are binding on
 subsequent panels. Thus, no subsequent panel overrules a published opinion of a
 previous panel. Court en banc consideration is required to overrule a published
 opinion.”)
         Moreover, the line of decisions cited by Defendants all stem from dicta in Frank v.
 D’Ambrosi, 4 F.3d 1378, 1386 (6th Cir. 1993). In that case, the appellate court affirmed
 the dismissal of a civil RICO complaint based upon lack of standing by the plaintiff, a
 lack of predicate acts, a complete absence of a pattern of racketeering, and the complete
 absence of an enterprise. Citing only Turkette, the panel loosely used language in dicta
 stating, “To satisfy the enterprise requirement, an association-in-fact must be an ongoing
 organization, its members must function as a continuing unit, and it must be separate
 from the pattern of racketeering activity in which it engages.” While this “must be
 separate from the pattern of racketeering activity” language appears to contradict Qaoud,
 the Frank court never even acknowledged Qaoud or that there was a split in the circuits
 on whether the enterprise must be distinct from the pattern of racketeering activity. The
 two other cases cited by Defendants, VanDenBroeck v. Commonpoint Mortgage Co., 210
 F.3d 696 (6th Cir. 2001) and United States v. Chance, 306 F.3d 356 (6th Cir. 2002),
 subsequently cited this same dicta from Frank, again without any analysis or even
 reference to the established law of the circuit. In any event, it was subsequent to the

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        In fact, the majority of circuits have refused to follow Bledsoe/Riccobene and have

 rejected the position that there must be proof of an enterprise separate and distinct from

 proof of a pattern of racketeering. See, e.g., United States v. Cagnina, 697 F.2d 915,

 920-21 (11th Cir.), cert. denied, 464 U.S. 856 (1983); United States v. Mazzei, 700 F.2d

 85, 89 (2nd Cir.), cert. denied, 461 U.S. 945 (1983); United States v. Patrick, 248 F.3d

 11, 18-19 (1st Cir. 2001) (“This court was before asked to adopt the Bledsoe

 [“ascertainable structure distinct from that inherent in the conduct of a pattern of

 racketeering activity”] test; it did not need to resolve the question because the evidence

 was sufficient even assuming arguendo the Bledsoe test applied. . . . We today explicitly

 reject the Bledsoe test.” (Citations omitted.)); see also, Odom v. Microsoft, Inc., 486 F.3d

 541, 549-50 (9th Cir. 2007) (“We take this opportunity to join the circuits that hold that

 an associated-in-fact enterprise under RICO does not require any particular

 organizational structure, separate or otherwise.” Id. at 550.); United States v. Perholtz,

 842 F.2d 343, 364 (D.C. Cir.), cert. denied, 488 U.S. 821 (1988); United States v.

 Diecidue, 603 F.2d 535, 545 (5th Cir.1979), cert. denied, 445 U.S. 946 (1980).

        Furthermore, even if the Bledsoe line of cases were the law of this Circuit, as the

 court observed in McNeil v. Salan, 961 F.2d 1578, 1992 WL 102734 (6th Cir. 1992)

 (unpublished), none of those cases speaks to what must be pleaded in order to state a

 cause of action, and, therefore, will not support a motion to dismiss:


 cases cited by Defendant that the Sixth Circuit decided Johnson, supra and reaffirmed its
 holding in Qaoud. See United States v. Johnson, 440 F.3d at 840.

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        Those cases discuss the requirement that the proof must show the existence
        of a RICO enterprise separate and apart from the predicate acts which
        constitute the pattern of racketeering activity. They do not discuss the
        requirements for pleading the nature or separateness of the enterprise.

 1992 WL 102734 at * 2 (emphasis in original).

        Indeed, even the Third Circuit which adopted the Bledsoe “separate proof” rule in

 Riccobene, supra, made a point to distinguish the “proof” requirements from the

 “pleading” requirements in Seville Indus. Machinery Corp. v. Southmost Machinery

 Corp., 742 F.2d 786 (3rd Cir. 1984), cert. denied, 469 U.S. 1211 (1985). In Seville, the

 Third Circuit reversed a case in which the district court had dismissed a plaintiff’s RICO

 complaint because it did not sufficiently allege the separateness of the enterprise. In so

 doing, the appellate court stated:

                In Riccobene this court stated that in order to establish the existence
        of an enterprise, the government must demonstrate (1) that the enterprise is
        an ongoing organization with some sort of framework or superstructure for
        making or carrying out decisions; (2) that the members of the enterprise
        function as a continuing unit with established duties; and finally (3) the
        enterprise must be separate and apart from the pattern of activity in which it
        engages. 709 F.2d at 221-24. The court below ruled that because Seville
        failed to plead these three attributes, Count One did not state a cause of
        action under RICO and must be dismissed.

               In so ruling, the district court confused what must be pleaded with
        what must be proved. Riccobene and Turkette certainly stand for the
        proposition that a plaintiff, to recover, must prove that an alleged enterprise
        possesses the three described attributes. But neither case speaks to what
        must be pleaded in order to state a cause of action. The district court erred
        in applying the Riccobene-Turkette proof analysis to the allegations in
        Seville’s complaint.

               . . . Under the modern federal rules, it is enough that a complaint
        put the defendant on notice of the claims against him. It is the function . .

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         . of trial to establish fully each element of the cause of action.

  Id. at 789-90 (some emphasis added.)

         Like a civil complaint’s “notice pleading” requirement, a criminal indictment is

  sufficient if it “contains the elements of the offense charged and fairly informs a

  defendant of the charge against which he must defend.” Hamling v. United States, 418

  U.S. 87, 117 (1974); see also Fed. R. Crim. P. 7(c) (an indictment must contain “a plain,

  concise and definite written statement of the essential facts constituting the offense

  charged.”) The indictment in this case more than sufficiently informs Defendants of the

  charges against which they must defend.

         Defendant Berjaoui also contends -- incorrectly -- that the Government must allege

  and prove that he participated in the operation or management of the enterprise.

  Apparently, Berjaoui misapprehends the distinction between a substantive RICO violation

  and participation in a RICO conspiracy. “A RICO conspiracy does not demand total

  fusion or that all defendants participate in all racketeering acts, know of the entire

  conspiratorial sweep, or be acquainted with all other defendants, but the component parts

  must be linked together in such a way to afford a plausible basis for the inference that an

  agreement existed.” United States v. Boylan, 898 F.2d 230 (1st Cir. 1990), cert. denied

  498 U.S. 849 (1990). In short, all that the Government must show to demonstrate a RICO

  conspiracy is that “a conspiracy existed and [that] the defendant was a member of that

  conspiracy.” United States v. Hughes, 895 F.2d 1135, 1141 (6th Cir. 1990). A particular

  person’s membership in the conspiracy may be inferred from that person’s actions. Id.

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         Further, and specifically contrary to Defendant Berjaoui’s assertions, to establish a

  Section 1962(d) conspiracy offense, the defendant need not be an operator or manager of

  the enterprise, only that he knew of “the general nature of the enterprise and that the

  enterprise extend[ed] beyond his control.” United States v. Tocco, 200 F.3d 401, 425 (6th

  Cir. 2000). See also Brouwer v. Raffensperger, Hughes & Co., 199 F.3d 961, 967 (7th

  Cir. 2000) (a RICO conspirator need only “knowingly agree to perform services of a kind

  which facilitate the activities of those who are operating the enterprise.”) In sum, all that

  the Government need allege is that Berjaoui’s actions were in some way linked to the

  enterprise, which it did by alleging that Berjaoui knowingly distributed cigarettes that

  were supplied through the “Hammoud Enterprise.”




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                                      CONCLUSION

        For all of the foregoing reasons,

        IT IS HEREBY ORDERED that Defendant Berjaoui’s Motion to Dismiss [Dkt.

  No. 136] and Defendants Jihad Hammoud, Majid Hammoud and Fadi Hammoud’s

  Motion to Dismiss [Dkt No. 169], as joined in by each other and by Defendants Zeidan

  and Isak [Dkt. Nos. 173, 176, 183, 184, and 189], are hereby DENIED.

        SO ORDERED.



                                            s/Gerald E. Rosen
                                            United States District Judge

  Dated: May 16, 2008

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on May 16, 2008, by electronic and/or ordinary mail.

                                            s/LaShawn R. Saulsberry
                                            Case Manager




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